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IN THE UNITED sTATES DISTRICT COURT \ 05
FoR THE wEsTERN DISTRICT oF TENNESSEE 05#!4}' ._5
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%EE@ 19 f 991/0
BooKER HORGES, -D. or m ; 114 Q/;§[ 97
. b ON
Piaintiff,
v. No. 03-1231-B/P

CORRECTIONS CORPORATION OF
AMERICA, et al.,

Defendants.

 

ORDER OF REFERENCE

 

The above matter is hereby referred to Magistrate Judge Tu Pham for all discovery and
non-dispositive motions presently pending and/or filed during the course of this litigation.

IT ls so oRDERED this 69 day of May, 2005.

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J. DANIEL BREEN \
NIT D sTATES DISTRICT JUDGE

 

This document entered on the docket sheet in compliance
with Ru|e 58 end/or 79 (a) FF{CP on

 

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Honorable J. Breen
US DISTRICT COURT

